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_14 .¢\'_.7'

Ao 106 (Rcv_ 04/10) implication for a search wmnt ' `

UNITED STATES DISTRiCT COURT

for the
Northem Distriet of New York

ln the Matter of the Search of

(Briefly describe the property to be searched
or identfjj) the person by name and address)

Case No_ g 'r t%» \/Y\B- '\\"l L”lch§l lg§

The residence of A|an T. Schack and Jensen P. Schack 7

located at 523 County Road 16, Piymouth, NY 13832 as
more fully described in attachment A

APPLICATION FOR A SEARCH WARRANT

\_¢'W\_/\_-/'-_/\_J

I, a federal law enforcement officer or an attorney for the_ government, request a search warrant and state under
penalty of` perjury that l have reason to bcllcve that on thc following person or property edenan the person or describe the

b d l
m’§<?es%ii§e '”c in‘§'ri'a‘i: en€ni“§l’°")

located in the Northern District of New Yori< , there is now concealed (idenn)j) the
person or describe the property to be Seized)f
See attachment B

 

Thc basis for the search under ch. R. Crim. P. 4l(c) is (check one ar more):
ii{cvidencc of a crime;

d contraband, fruits of crime, or other items illegally possessed;
ii{ property designed for use, intended for usc, or used in committing a crimc;

i:l a person to bc arrested or a person who is unlawfully restrained

Thc search is related to a violation of:

COd€ S€Clion Ojj'ense Descrfp!ion
18 USC § 875(c) Threats via interstate communications
18 USC § 922(9)(3) Drug user in possession of firearms and ammunition

The application is based on these facts:
See attached aft`idavit

51 Continued on the attached shect_

i'_l Delayed notice of _ days (give exact ending date if more than 30 days: ) is requested
under 18 U. S. C. § 3103a the basis ofwhich is set forth on the tta ed h t.

g / /App!'icani"$ signature

.loe| G. Mercer, SA, FBl

Pri'nred name and title

iga/fra

Jndge 's signature

 

 

Sworn to before me and signed in my presence

Datc: l/l/\C/~fc'/@\ § QOi § ,

City and statc: Syraouse, Ne_w_Y_ori_< _ '_ i-lon A_ndreWT. Baxter, U. S. Nlagistrate Judge

 

 

Prinred name and title

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ATTACHMENT A

The residence of Alan T. Schack and Jensen P. Schack, located at 523 County Road 16
Plymouth,, Town of Plymouth, Chenango County, Ncw York, further located and described as
follows: The sixth residence on the left hand side of County Road 16 as you travel North from
the intersection of Pike Hill Road. A grayish/tan vinyl residence with blue shutters and shite
trim. There is the number of “523” affixed to the front of the residence and to the left of the
front door. The residence is a modular ranch style home. There is a wooden framed deck on the
front of the residence that Wraps around to the north side of said residence. The driveway is
gravel that leads to the residence

,.._A
.

2.

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ATTACHMENT B

Controlled Substances, including but not limited to marijuana, marijuana residue.

Drug paraphernalia including but not limited to materials for the possession, use, storage,
ingestion, and processing controlled substances

. Rolling papers for the use of controlled substances, including but not limited to,

marijuana
Grinders or sifters for processing controlled substances
Pipes for ingesting controlled substances

Records in any form, relating to or reflecting the purchase, sale, transfer or distribution of
controlled substances

Shell casings for 5.56 Nato rifle ammunition

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AFFIDAVIDT IN SUPPORT OF AN
APPLICATION FOR SEIZURE AND SEARCH WARRANT

JOEL G. MERCER, being duly sworn, deposes and states:

INTRODUCTION

l. lam a Special Agent of the United States Department of

Justice, F ederal Bureau of Investigation (“FBI”), and I am empowered by law to investigate and
make arrests for offenses enumerated in Title 18, United States Code, Section 2516. As such, I
am an “investigative or law enforcement officer”, within the meaning of Title 18, United States

Code, Section 2510(7).

2. I have been employed as a Special Agent of the FBI since February 1997 and am
currently assigned to the Albany Division, Ithaca Resident Agency. While employed by the FBI,
I have investigated Federal criminal violations related to cybercrime, child exploitation, child
pomography, complex financial crimes, violent crime, and drug offenses I have gained
experience through training by the FBI and everyday work relating to conducting these types of
investigations I have applied for and participated in the execution of several federal search
warrants in numerous and varied types of investigations

3. On Friday March 2, 2018 the Cortland County Sheriff’ s Department became
involved in an investigation concerning a report that Jensen Schack, age 19, had posted a video

and photos on his Snapchatl account that included his father shooting a semiautomatic rifle the

 

1 ”Snapchat” is an intemet application that allows the user of the account to distribute posts, videos and photos
through social media. One feature of Snapchat is that items posted via this application self-erase after a relatively
short period of time.

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caption, “Cortland Highschool watch out,” and photos with the captions, “Want to come take
our guns? You better bring yours” and “that snap was a joke please don’t send the cops to my
house.” These three snap chat photos are exhibit 4. This information and additional information
Were used to obtain a search warrant from Cortland County Court for the residence of Jensen
Schack in Chenango County.- Jensen Schack is a 2016 graduate of Cortland High School.

4. On Saturday March 3, 2018 members of the Cortland County, Madison County,
and Chenango County Sheriff’s Departments executed a search warrant issued by Cortland
County Court Judge David C. Alexander on March 2, 2018 based upon sworn affidavits. The
search Warrant, search warrant application, and attached affidavits are attached here as exhibit 1.
This Cortland County Court search warrant authorized the search of the residence described
therein, Which is the same as the location described herein in this search warrant application in
attachment A. The Cortland County Court search warrant authorized a search for firearms and
related items set forth therein related to alleged terroristic threats in violation of New York State
Law and the illegal possession of a firearm under New York State law. In the course of
executing the NYS search warrant, the Sheriffs deputies seized a Hyperion Arms and Ammo
Model HCA-IS Multi, Semi-automatic AR Ster Rifle, Caliber 5.56 NATO, serial number HA
100034 which appears to have been manufactured or altered in Danville, NY, as well as on
partial box of Federal 5.56 x 45 mm, 55 grain FMJ ball ammunition containing 380 live rounds.
The rifle was found 'in a gun rack in the residence living room. The ammunition Was seized from
the basement of the residence. Other items seized are included in Exhibit 2, Cortland County
Sheriff"s Office Evidence Work Sheet. An interview of the defendant’s father, Alan T. Schack

revealed that he purchased the rifle and ammunition on March l, 2018.

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5. During the execution of the search Warrant it was learned that the residents
included Alan T. Schack, the father of Jensen Schack, Elizabeth Melville, the partner of the Alan
T. Schack and two minor children.

6. During the execution of the Cortland County Court Search Warrant, Deputies
located a room used by Jensen Schack as his bedroom on the first floor adjacent to the living
room. A search of this bedroom located several items of drug paraphernalia including pipes that
could be used for smoking or ingesting controlled substances, rolling papers that could be used
for smoking or ingesting controlled substances, and papers which appear to contain the residue
of marijuana or some other organic substance which could be a controlled substance. A
photograph of some of these items are attached hereto as exhibit 3. These items were not seized
as they were not listed in the Cortland County Court search warrant. At the conclusion of the
execution of the Cortland County Court search warrant, the drug paraphernalia items were left
where they were found. A deputy Sheriff from Chenango County Sherift’s Office is currently
(March 5, 2018) at the residence to ensure that these items are not moved or destroyed pending
the anticipated issuance of the requested federal search warrant

7. I have consulted With U.S. Bureau of Alcohol, Tobacco, Firearms and Explosives
(ATF) Special Agent Louis J. Safiotti is, who is an expert in the interstate nexus of firearms and
ammunition, who has advised me that the ammunition seized during the execution of the
Cortland County Court search warrant, consisting of partial box of Federal 5.56 x 45 mm, 55
grain FMJ ball ammunition containing 380 live rounds was not manufactured in New York State
and therefore affected interstate commerce.

8. Following the execution of the Cortland County Court Search warrant, Jensen

Schack was arrested and charged with the New York State felony offense of Making a

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Terroristic Threat, in violation of New York State Penal Law Section 490.20. He was taken at
the Cortland County Sheriff’s Department, where he was advised of his Miranda rights, which he
waived knowingly and voluntarily. During this interview, which was recorded in video and
audio, Jensen Schack admitted that he had posted the images and writings issued via Snapchat.
He also admitted that he had fired the Hyperion Arms and Ammo Model HCA-15 Multi, Semi-
automatic AR Ster Rifie, Caliber 5.56 NATO, serial number HA 100034 at least once. During
the course of the interview, he claimed that the posts were the result of his dark sense of humor
and Were a joke. He was arraigned at 12 noon on Saturday March 3, 2018 in Cortland City Court.
Today he again appeared in Cortland City Court and was assigned defense counsel. Upon the
motion of Cortland County District Attomey, and with the consent of defense counsel, he is
currently the subject of a mental competency exam pursuant to New York Criminal Procedure
Law Section 730 examination for fitness to proceed. His bail has been set at $100,000.00 cash or
bond and his next court appearance is scheduled for Friday March 9, 2018.

9. I request that the court issue the requested federal search warrant so that items of
evidence, set forth in attachment B, and were not seized during the execution of the Cortland
County Search warrant may be seized for possible use in the prosecution of Jensen Schack for
possible violations of federal law. His posts via Snapchat could constitute a possible violation of
18 USC Section 875(c), Threats via Interstate Communications. The drugs parapehanlia
referenced herein could constitute evidence that could be establish an element of a drug user in

possession of ammunition in violation of 18 USC Section 922(g)(3).

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10. Based upon the foregoing, l request that the Court issue the requested search

warrant so that the items of evidence set forth in Attachment B may be recovered and preservedl

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Jc;j:?de,rt(er/
S ial Agent

Federal Bureau of Investigation

Sworn to before me this
S‘h day of March 2018

dca/ard

lile Andrew T. Baxter
U.S. Magistrate Judge

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ExHIBIT 1

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STATE OF NEW YORK :: COUNTY OF CORTLAND
COUNTY COURT

l'N 'l`l-lE MATTER OF
APPLICA TION FOR

AN APPLICATION BY LT. TODD CAUFIELD, SEARCH WARANT
OF THE CORTLAND COUNTY SHERIFF'S OFFICE
PURSUANT TO ARTICLE 690 OF THE
CRIMINAL PROCEDURE LAW OF THE STATE OF
NEW YORK, FOR A SEARCH WARRANT AUTHORIZING
THE SEARCH OF A CERTAI`N PREMISE AND THE SEIZURE
OF CERTAIN PROPERTY

 

S'l`ATE OF NEW YORK }
} ss:

COUNTY OF CORTLAND}
I, Lt. Todd Caufield, being duly sworn, deposes and says:

l) That your deponent has been a police officer for the Cortland County Sheriff`s Office
for 31 years, and presently is employed as a County Police Lieutenant assigned to the
Criminal Investigation Division

2) 'l`hat, as is more particularly set forth herein, deponent believes that there is reasonable cause
to believe that property ofa kind and character specified in section 690.10 ofthe Criminal
Procedure Law and listed herein, may be found in or upon designated or described place,
vehicle and/or persons, that is the subject of this application and outlined as follows‘.

PROPERTY UNLAWFULLY POSSESSED; to wit; cell phone ofJensen P. Schack, rifles,
ammunition magazines ammunition possessed in violation of the New York State Penal Law
Sections 400 subdivision 16(a) and 265.01 subdivision-b

may be presently found at the following location:

'I`he residence of- _ and Jensen P. Schack, located at __ -

Plymouth, _ - -, New York, further located and described as
follows: the sixth residence on the left hand side of _ l as you travel North from the
intersection of- - -. A grayish/tan vinyl sided residence with blue shutters and white
trim. There is the number of -” affixed to the front of the residence and to the left of the front
door. The residence is a modular ranch style home There is a wooden framed deck on the front
of the residence that wraps around to the north Side of said residence The driveway is gravel that
leads to the residence

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Search Warrant Application - continued
Application of l_t. 'l`odd Caufleld
Pagc 02

3) The source ot`your deponent's information and the grounds for his belief are as follows

a) Your deponent has been a member of the Cortland County Sheriff`s Office for
approximately 31 years and has learned through investigative techniques such as

interviewing victitns, witnesses and suspects vital information can be learned pertaining to
the facts surrounding an ineident, including the location of evidence Your deponent’s

primary duties as an lnvestigator have been to investigate majon’serious crimes and offenses
interview persons make arrests among other duties 'l`hat your deponent has been involved in
numerous investigations involving weapons offenses That your deponent has been involved in
the application and execution of several search warrants in his career. Your deponent makes
application to a Cortland County Judge to authorize a search of a prcmisis/residence located in
the 'l`own of Plymouth, Chenango County, New York, which is an adjoining county to Cortland
County,

b) On March 2“d, 2018 your deponent, while employed by the Cortland County Sheriff‘s Office
investigated a report of a potential terroristic threat that was made through social media towards
the Cortland City Sehool District, specifically the Cortland fliin School. Your deponent met with
a citizen at the Cortland County Sheriff"s Office who wanted to remain anonymous however she
was willing to give a written statement The citizen stated that she had received earlier in the day
(3/2/18) a “Snap Chat” posting from a subject she knows as Jensen Schack. The citizen has
known Jensen Schack for about 4 years and got to know him through a mutual friend The citizen
volunteered the “Snap Chat” posting that she received with your deponent. The posting had a
video and 3 separate attached photos The video shows a white male who is unknown to the
citizen, standing in dark pants, orange colored sweatshirt and shooting an assault type rifle,
which in the video fired off several rounds injust a couple of seconds There was a caption in the
video that red “Cortland High School watch out”. The first photo showed what appears to be the
same assault rifle placed in a gun case with the caption in the photo “wanna come take my guns?
You better bring yours ln the second photo it reflects a male subject who was identified by the
citizen as Jensen Schack with a caption “that snap was ajoke please don’t send the cops to my
house”. The third photo was a subject identified as 1 ensen Schack holding a young male on his
lap with a caption that reads “mini me.

The citizen(s) that gave the written statement to your deponent wishes to remain anonymous
for the fear of reprisals

N.mh 2“d, 2018 Your deponent did an inquiry on Jensen P. Schack with a-
and found Jensen to have an address of _ - - - -
d) On March 2“d, 2018 I, along with Sgt. Mark Beers also of the Cortland County Sheriff"s Office

traveled to _t Circle in the Town of Cortlandville, County of Cortland New York
to try and locate Jensen P. Schack to interview him about the posted threat towards the Cortland

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Search Warrant Application - continued
Application oth. Todd Caufield
Page 03

High School. When we arrived we met with 1 ensen Schack’s mother_ with a
date of birth o ._ advised us that her son Jensen did not reside with her and
that he is now living with his father, - - with a date of birth of - in
Plymouth, County of Chenango, New York. l asked_ if she would be willing to
continue our interview at your deponents office where we could discuss this information further.
_ agreed to come directly to the Cortland County Sheriff’s Office for the interview.

e) March 2“d, 2018 Your deponent met with _. - at the Cortland County

Sheriff`s Office. _ was able to provide information about - who used to
married to and that Jensen Schack is both- and _ biological
son. was able to describe the residence and provide an address for -and 1 ensen

Schack, which is _ . Town of Plymouth, _ -. _ stated

that she has witnessed - - possessing guns and even marijuana while they were together
as a couple. - was shown a photo by your deponent of the aforesaid mentioned subject
in paragraph “b” with dark colored pants, orange colored sweatshirt holding an assault rifle. -

identified that male subject as her ex-husband - -, date of bird-
also stated that the photo is that of the back yard of _ - - Town of

Plymouth, _. _ indicated that she did not know- to possess any

handguns, however she knows that he has long guns and keeps them in a gun safe and gun
cabinet

ij March 2"d, 2018 Your deponent with the assistance of Sgt. John Gallagher, also a member of
the Cortland County Sheriffs Office ran an inquiry through the New York State eJustiee Portal
to verify if - _ has ever registered an assault rifle as required through the
New York State registry safe aet. The inquiry reflected that-- has never registered
any guns as required by New York State.

g) March 2nd, 2018 Your deponent ran a Crirninal l-listory inquiry through New York State

elustice Portal on - _ date of birth _ Such inquiry reflects that -
T2 total arrests with 1 misdemeanor conviction and l other conviction lt also reflects
that

_ does not possess a New York State Pistol Permit.

h) March 2“d, 2018 Sgt. John Gallagher submitted an inquiry to the New York State intelligence
Center in Albany to verify if - - had registered any weapons with New
York State. Such check revealed tha- - had not registered any weapons

i) March 2nd, 2018 a representative of the Cortland City School District were notified and made
aware that one their recent graduates had posted a threat of potential violence against the school.

4) The allegations of fact are based upon direct knowledge ofyour deponent and upon

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Search Warrant Application - continued
Application of Lt. Todd Caufield
Page 04

information and beiief, the sources of such information and grounds for belief being
supported by the following attachments

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h)

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a copy of a supporting deposition from the citizen who wishes to remain anonymous dated
tviai~ch 2"‘1 2018.

a copy of a supporting deposition from -. -, dated March 2"d, 2018

a copy of a New York State elustiee Assault Weapon Registration inquiry, dated March 2“d,
2018.

a copy of a Reposito ii of Wrefleeting an
address of- i' iPlyrnouti i ew or , ' i» .. , 18
a copy of a photo reflecting a subject identified as - -, date of birth -

wearing a orange sweatshirt, dark pants and holding an assault type riflc, with the caption
“Cortland high school watch out.

A copy of a photo reflecting an assault rifle in a case with the caption “wanna come take my
guns? You better bring yours”

A copy of a photo reflecting Jensen P. Schack and a caption that reads “that snap was a joke

please don’t send the cops to my house”
A copy of a hoto captured from the Facebook page of - - reflecting the front of

- -- l, Piymouiii, _ -, uaw vsii<.

That deponent makes further application that the court direct the search of premises at any
time of the day or night on the grounds that there is reasonable cause to believe that if the
property sought is not seized forthwith it will be lost or destroyed; to wit; that it is past the
hours of 9 PM and before the hours of 6 Al\/l when such application was applied for, also that
through the investigation of your deponent - - and Jensen P. Schack knows that
police have reason to believe he has illegal property; to wit', rifles, ammunition magazines
and ammunition, while knowing that based upon deponent’s training and experience he
knows that those involved in illegal activities attempt to avoid apprehension by police and is
reasonable certain that _ and Jensen P. Schack will dispose of the illegally
possessed property if not seized forthwith

6) That no prior application for search warrant involving the above described persons and

premises alleging the aforementioned facts has been sought or received by the applicant

WHEREFORE, deponent respectfully requests that the Court pursuant to the authority vested in
it under Article 690 of the Criminal Procedure Law of the State of New York, issue a search
warrant directing a search for and a seizure of the above described property in or upon the above
designated or described place/vehiclel

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Search Warrant Application - continued
Application of Lt. Todd Caufield
Page 05

Subscribed and Sworn to b fore me
rhng "3 day or /774/¢ ,2018

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Signature of'ludge/Justice

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SUPPORTING DEPOSI'I`ION COUNTY OF CORTLAND
STATE OF NEW YORK CITY OF CORTLAND

I, Request to remain anonymous D/O/B, residing at Cortland County, New York, by this
Suppo`rting Deposition, make the following allegations of fact :

Q- represents questions asked by Lieutenant Todd Caufreld
A- represents answers given by Anonymous Source

Started: 2135 PM

Q- Today is Friday March Z”d, 2018. You came to the Cortland County Sheriff’s Oftice to make a
report about a video and photos that l received on “Snap Chat”. When you filed this report
you wanted to remain anonymous is that correct?

A- Yes

Q- Can you tell me why you want to remain anonymous?

A- Because if word gets to him I dorr’t want him to know who reported it to the police

Q- Who is him?

A- Jensen Schack

Q- How old is this Jensen Schack?

A- He graduated in 2016, so l would say he is about 20 to 21 years old

Q- Can you describe this Jensen Schack? l

A~ I-le is a white male, has red hair and red eyebrows, he appears to be medium height
He he has blue-greenish eyes, medium build

Q~ How do you know this Jensen?

A- When l was in Junior High School in Cortland he associated with one of my friends

Q~ How long ago was that'? .

A~ Like 4 years ago

Q- Do you know where Jensen lives now or lived then?

A- I don’t know where he lives now, but when he went to Cortland he lived in Cortland

Q- Have you ever been to his house?

A- No

Q- When Was the last time you saw him in person?

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A- About 4 years ago _

Q- And you have no problem identifying him by this snapchat video and photographs?

A- No I don’t, I can recognize him from the photos and video.

Q- Does he know that you follow him on snapchat?

A- Yes

Q- What does he go by on his snapchat name?

A- “Jenscn”

Q' When you follow someone on snapchat does that allow you to have his phone number?

A- No

Q- Do you have his phone number?

A- No v

Q- Do you know who his family members are?

A~ No, however l do know that he has a younger brother. He usually posts about him

Q- You provided the Cortland County Sheriff’s Office with a video of a white male standing on a

deck of what appears to be a house and shooting along gun, do you know who that person is?

A»‘No I don’t

Q- With that snapchat video there are 3 photos with that, do you know who are in those photos?

A- Yes, Jensen Schack

Q- In the video and the photos were there any words that went along with the video or photos?

A- The video had words that say “Cortland School Watch Out”and the first of the two photos
had “wanna come take my guns? you better bring yours” . ln the second photo it said “that
snap was a joke please don’t send the cops to my house” , in the third photo it said “mini me”

Q- In the snapchat photos was Jensen in both photos?

A- In the second photo he was, but the first photo was just of a gun.

Q- ln the 3rd photo there are 2 subjects, do you know who they are?

A- Yes, Jensen and his little brother.

Q- Have you ever known Jensen to threaten anyone?

A~ No

Q- I-Iave you ever known Jensen to get into any trouble?

A- I don’t know of any

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Q~ When you saw this snap chat video and photos how do you know they came from Jensen?

A- Because he posts on his own snap chat

Q- And that would be “Jenscn”?

A- Yes

Q- What did you think when you saw this‘?

A- I thought that his joke was not funny, especially with what has been happening around the
country.

Q- Do you know how many other people have received this same snap chat?

A- No

Q- Have you talked with anyone else about this‘?

A- Yes, just a friend of mine, who l don’t want to mention

Q_ Does Jensen know anything about you going to the police‘?

A- No

Q- Did you respond or did anyone else respond to the photos?

A- No

Q» Do you believe that Jensen is capable of doing something bad like this?

A~ Yes

Q- Why do you believe that?

A- Because he has a gun and I know that he has a background of mental illness.

Q- How do you know about his mental illness?

A- A while back he was in the hospital, l believe'he tried to kill himself

Q~ When was that?

A- About 2 years ago

Q~ How do you know that?

A- His instragrarn it showed him in a hospital gown and there were snapchats of him in the
hospital There were also rumors about what he did to get himselfin there.

Q- Do you know what he did to try and hurt hirnself?

A- No

Q- Is there anything else that you would care to add that we have not discussed?

A- A~minute ago when I looked on his snap chat Jensen has removed the video and photos from

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his posting or his account
Q- What Would you take from that?
A- He is trying to hide it or he may have received word from other people telling him that this is

not ajoke and that he should remove it.

Ended: 3:10 PM

IT IS A CRIME, PUNISHABLE AS A CLASS A MISDEMEANOR UNDER Tl-IE LAWS OF
THE STATE OF NEW YORK, FOR A PERSON, IN AND BY A WRI'I`TEN INSTRUMENT,
TO KNOWINGLY MAKE A FALSE STATEMENT OR TO MAKE A STATEMENT WHICH
SUCH PERSON DOES NOT BELIEVE 'l`O BE TRUE.

 

 

 

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suBscRrBED AND swoRN ro BEFORE ME
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NAME; _éé?é:¢¢'méf rrrLE; inv./Li.

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SUPPORT]`NG DEPOSITION COUNTY OF CORTLAND
STATE OF NEW YORK TOWN OF CORTLANDVILLE

1_ - _residwg a l _ -C<mland ,New
York, by this Supporting Deposition, make the following allegations effect :

Q~ represents questions asked by Lieutenant Todd Cauiield

A~ represents answers given by _-

5:30 PM

Q- How long have you lived at your current address?

A- 6 years

Q- Are you currently employed?

A- Yes, through New York State

Q- Are you married?

A- No

Q- Do you have any children?

A~ Yes, l _

Q- What is your child’s narne?

A- Jensen P. Schack

Q- What is Jensen’s date of birth?

A~ _

Q- Can you describe Jensen for me?

A- He has red hair, slim build, about 5’-11”, he has a tattoo of word on one of his wrists.
Q- Where dpes Jensen live?

A~ With his father at - - l in Plymouth New York
Q~ How long has Jensen lived there?

A- About 1 year

Q~ Where did Jensen attend school?

A- Cortland High 7-12 and K-6 in Norwich New York,

Q- Has Jensen been in trouble with law enforcement in the past?

A~ He has never been arrested

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Q- What is Jensen’s fathers narne?

A--- 1

Q- Do you know- date of birth?

A- -

Q- Does -work?

A- No

Q- Besides Jensen, who else lives with -?

A- There are 2 younger children who live half with the time with- and the other half with
their mother.

Q- Can you describe -for me?

A- About 5’-9”, blonde hair, stocky build, off and on he will have a mustache or goatee. He also
has a bump or a lump in front of his right ear. l

Q- Doe- own the house he lives in?

A- Yes

Q- What type of house is it?

A- A modular ranch style house

Q- How many floors does it have?

A- It is not a 2 floor but there is a loft in it.

Q~ Does it have a basement?

A- I am not sure

Q- Are there any porches or decks attached to the house?

A- Yes, there is at least a deck on the front and it may wrap around the house.

Q- When was the last time you were at - house?

A- Novernber 2017

Q~ Do you know the color of the house?

A- Grayish/Tan with blue shutters

Q- The last time you saw the house was there a garage?

A- No, there was not garage

Q~ Is there any outbuildings?

A~ There is at least one shed

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Q- Is the driveway gravel or blacktop?

A- Gravel

Q- Does he have any dogs?

A- Yes, at least 2 dogs

Q- Do you know what type they may be?

A- One is a black lab and the other is a chocolate lab. They are females and are very aggressive

Q- How long have you known -?

A- About 23 years

Q- You and - were married at one time?

A~ Yes l

Q- Does -hunt?

A- I do not know at this time, he used to.

Q- Have you ever known- to possess any weapons?

A- Yes

Q- What type of weapons‘?

A- Just guns to hunt with

Q- Were they long guns or handguns?

A- Long guns

Q- Does he have a pistol permit?

A- l do not know

Q- Have you ever known him to possess a handgun?

A- I don’t recall

Q- What can you tell rne about_i and his hobbies, has he ever shown an interest in rifles or
high powered rifles?

A- Yes, he has always had guns, he had a gun safe and a gun cabinet

Q- The last time that you were in_house do you know how many guns he may have had?

A- l don’t know

Q- When you were together with - how many guns do you recall him possessing then?
A- 3 to 5

Q- And he used them to hunt with‘?

Case 3:18-mj-00117-ATB Document 1 Filed 03/05/18 Page 22 of 44

A- Yes

Q- What type of reception would -have with law enforcement at his residence?

A- He likes to talk his way out of things, however he can be very combative

Q~ Do you know if -has ever been arrested?

A- I do not know the answer to that

Q- Do you know the name of - girlfriend?

A- _

Q- Today (March 2"d, 2018) two Investigators from the Cortland County Sheriff's Oftice came to
your residence and asked to speak with your son Jensen. You advised the Investigators that
Jensen lives with his father - -) in Plymouth New York (Chenango County). The
lnvestigators showed you a photo of a subject holding a long gun and standing outside. The
Investigator then asked you if you were familiar with the person in the photo and you
indicated that it i_ is that correct?

A- Yes

Q- Is this the same - - that we have been discussing throughout this statement?

A- Yes

Q- Has - ever been abusive?

A- Yes

Q- When was the last time you talked with -

A- Maybe about a month ago

Q- When was the last time you talked with Jensen?

A~ On Facebook a couple of days ago

Q~ Has Jensen ever been arrested?

A- No

Q- Has Jensen ever been treated for anything medically?

A- Yes

Q- Can you share with me what he was treated for?

A- He used to take ADHD medicine a long time ago

Q~ Has Jensen ever been treated for aggression?

A~ No l

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Q- Has Jensen received assistance in the past from any type of cotmselor?

A- Yes

Q- When was that?

A- 6 months ago maybe. He was going to talk with a counselor in Norwich and then he stopped.

Q- Does Jensen take medications if you know?

A- As far as I know he isn’t taking anything right now

Q- Does Jensen possess any type of guns?

A- No

Q- How was Jensen treated when he was in school?

A- Okay. He was picked on, but not any more than the next kid.

Q- Has Jensen ever made threats to harm himself or anyone else in the past?

A- I don’t know

Q- Have you ever suspectec- of doing anything illegal?

A- Yes, I have seen-on several occasions possessing and using marijuana He hunts illegally
by shooting deer at night. Not properly tagging deer during deer season.

Q- Do you know - to sell marijuana or just possess it?

A~ Both

Q- Does - grow it on his property?

A~ In the past he has grown it but I am not sure about now.

Q~ Is there anything that you would like to add to this statement that we have not discussed?

A~ Not at this time

Q- Do you have any questions?

A- No

Ended: 7:00 PM

IT IS A CRIME, PUNISHABLE AS A CLASS A MISDEMEANOR UNDER THE LAWS OF
THE STATE OF NEW YORK, FOR A PERSON, IN AND BY A WRITTEN INSTRUMENT,
TO KNOWINGLY MAKE A FALSE STATEMENT OR TO MAKE A STATEMENT WHICH
SUCH PERSON DOES NOT BELIEVE TO BE TRUE.

Case 3:18-mj-00117-ATB Document 1 Filed 03/05/18 Page 24 of 44

 

SUBSCRIBED AND sWORN To BEFORE ME
THIS 2“°‘ DAY oF March, 2013.

NAME: TITLE: lnv./ Lt.

 

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A No Matchrng Data Found

@C|?ent ID §Last Name QGun Serial Numt:er § Registranon Number

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Reason for lnquiry

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Repository Inquiry
To: caufieidt For: Todd Caui`leld Case No:SlS-U=HUS NYSID Number - 05434185M - CRI

 

New York State Division of Criminal Justice Services
Alfred E. Smith Building, 80 South Swan St.
Albany, New York'lZZlU. Tel:1-800-262-DCJS
Michael C.Green, Executive Deputy Commissioner of the NYS Division of Criminal Justice Services

 

Identiiication Summarv CriminalHistorv .Iob/License Wanted Missing

 

0 Attention - Important lnforrnation *

* See Additional Information at the bottom of this response for more banners pertaining to the criminal
history

0 Identifrcation Information i

 

 

    

 

 

 

Name:
_ - - -
Date of Birth'.
- l - _l -
Place of Birth :
. New York
C l lmage
Date March 29, 2016

Address:

__ ., PLYMOUTH, NY 13832

- - . ., PLYMOUTH, NY 13832

- - - -, PLYMOUTH, NY 13832

_ -, ceases NY

Sex: Race: Ethnicity: Skin Tone:

Male White Not Hispa.nic Light

Eye Color: Hair Color: Height: Weight:

Blue Blonde 5' 10“ 220

SSN:

--0270

NYSI])#: FBI#: NCIC Classiiication#:

05434185M 8293'/'6DA1 180610POP013XM09PIPI
HI Status: Criminal record in NYS Only

 

US Citizen: Unknown

 

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d Summary Infor`mation l

Total Arrests: 2 Date of Earliest Arrest: April 20, 1985 Latest Prior Arrest Date: July 21, 1986

 

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otal Open Cases: les s
max

Violent F Violent F

Firearm: Firearm: t F

 

ACD:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Docketed
Total llecles Warrant Information: Cycles DOC Classification: Cycles
Convictions: (max _ _ (max~ (max
5) ' 5) ` 5)
Felony: |0 Failnre to Appeax' 0 Escape Charges:
Violent Felony: 10 Counts: Sex Offender
Fiream; 0 Total Open: 0 Convictions:
Misdemeanon 91 Active NYC: 0 Probation Revoc:
lother; 1 Parole Revoc:
YO Adjud.: |0

 

 

 

 

0 NYS Criminal History Information *

8 Cycle 2
Arrest/Charge Information
Arrest Date: July 21, 1986 06:00 pm (18200:00)
Name= . __
Date of Birth: -- -
Sex: Male
Race: White
SSN: _~0270
Age at time of crime/arrests 18
Addms= -_-_NY
Place of Arrest: Village of Carthage, Jefferson County, NY
Arrest Type: Warrant
Date of Crime: July 19, 1986
Place of Crime: Village of Carthage, Jefferson County, N¥
Criminal Justice Tracking No.: 08 866647Z
A"¢Sting Agen¢y= MQEMM
Arresting Officer l]): 022
Arrest Number: 00009860
Arrest Charges:
-- Petit Larceny

PL 155.25 Class A Misdemeanor Degree 0 NCIC 2399

 

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Court Case Information

-Court: Carthage Village Court Case Number: PL-166-8

August 11, 1986
Convicted Upoo Plea Of Guilty

-- Disorderly Conduct
PL 240.20 Violation NCIC 5311

Sentenced to: Term: 10 Day(s)
Senteoce Date: August ll, 1986

 

Cycle 1 l

Arrest/Charge Information
Arrest Date: April 20, 1985 10:45 pm (22:45:00)

Name= __

 

Date of Birth: - . -
Sex: Male
Race: White
Age at time of crime/arrest: 16
Address: _ . CARTHAGE, NY
Place of Arrest: Village of Carthage, Jefferson County, NY
Arrest Type: Unknown
Date of Crime: April 20, 1985
P|ace of Crime: Village of Carthage, Jefferson County, NY
Criminal Justice Tracking No.: 085505 161
Arresting Agency: NYSP Watertown
Arresting Ofiicer ID: 1079
Arrest Number: 0583D332 .
Arrest Charges:
- Petit Larceny

PL 155.25 Class A Misdemeanor Degree 0 NCIC 2399

-~ Resisting Arrest
PL 205.30 Class A Misdemeanor Degree 0 NCIC 4801

Court Case Information

-Court: Carthage Village Court Case Number: PL 421-2
June 04, 1985
Dismissed
- Petit Larceny
PL 15$.25 Class A Misdemeanor NCIC 2399

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-- Resisting Arrest

PL 205.30 Class A Misdemeanor NCIC 4801

 

0 Other History Related Information

‘I*

There is no Other History Related Information associated with this history.

 

0 Job/License Information §

Civil Information

Type of Application:
Namc:
Date of Birth:

Country of Citizenship:

Ethnicity:

SSN:

Add rcss:

Agency l]):

Date oprplication:
Applicatioo Agent:y:

Application Number:

Type of Application:
Name:

Date of Birth:

SSN:

Address:

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Date of Application:
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Application Nurnbcr:

Driver's Licensc:

Type of Application:
Name:

Date of Birth:

SSN:

Address:

Agency ID:

Date of Application:
Application Agency:

Application Number:

Driver's License:

Type of Application:

Correction Officer

USA
Not Hispanie

-0270
-_l PLYMOUTH, NY 13332

25831-93

March 29, 2016

NYS DOCCS Emn]ovee lnvestigation Unit
25831-93

Employee Applicant

_
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- --- P]_.YMOU'I`H, NY 13832

51940

July 02, 2013

NYS OPWDD Criminal Backuround Check Unit
51940

349682446

Employee Applicant

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--- PLYMOUTH, NY 13832
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October 29, 2012

NYS OPWDD Criminal Background Chcck Unit
51940

349682446

Correction Officer

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Name: - l scHAcK

Date of Birth: - - 1968

Ethnicity: Not Hispanic

SSN: --0270

Address: - _ -PLYMOUTH, NY 13832
Agency ID: 2482566

Date of Application: March 11, 2008

Application Agency: NYS DOCCS Employee lnvestigation Unit
Application Number: 2482566

 

0 Wanted Information .
There is no NYS Wanted lnforrnation associated with this history.

0 Missing Person Information *

There is no NYS Missing lnformation associated with this history.

0 Additional Information "

Sentencing - Where an individual is sentenced June 1, 1981 or later on more than one charge within a docket,
the sentence may be considered to be concurrent unless identified as consecutive

Caution: Identitication not based on fingerprint comparison. This record was produced as the result of
`an inq uiry.

According to our iiles, this individual does not appear to have History in III. However this does not_
preclude the possibility that the FBI does have a record. Ii` you desire this information, please submit a

request directly to the FBI.

WARNING: Release of any of the information presented in this computerized Case History to unauthorized
individuals or agencies is prohibited by federal law 'I'ITLE 42 USC 3789g(b). . .

This report is to be used for this one specific purpose as described in the Use and Dissemmatron Agreement

your agency has on tile with DCJS. Destroy after use and request an updated rap sheet for subsequent oeeds.
All information presented herein is as complete as the data furnished to DCJS.

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SEARCH WARRANT
C.P.L. 690.45

SEARCH WARRANT
STATE GF NEW YORK
COUNTY OF CHENANGO
TOWN OF PLYMOUTH

To any Police Ot`t`icer of the
CORTLAND COUNTY SI-IERIFF'S OFFICE
CHENANGO COUNTY SHERIFF’S OFFICE

MADISON COUNTY Sl-IERIFF’S OFFICE

YOU ARE HEREBY directed to search:

T he residence of - - and Jensen P. Schack, located a -
Plymoutb, __ -’, New York, further located and described as
follows: the sixth residence on the left hand side of_ . as you travel North from the
intersection of-- A grayish/tan vinyl Sided residence with blue shutters and white
trim. There is the number of affixed to the front of the residence and to the left of the front
door. The residence is a modular ranch style home There is a wooden framed deck on the front
of the residence that wraps around to the north side of said residence The driveway is gravel that
leads to the residence

for the following property§

PROPER'I`Y UNLAWFULLY POSSESSED; to wit; cell phone of Jensen P. Schack, rifles,
ammunition magazines, ammunition possessed in violation of the New York State Penal Law
Sections 400 subdivision 16(a) and 265.01 subdivision-b

IF ANY SUCH PROPER'I`Y IS FOUND, you are directed to seize the same and, without
unnecessary delay, return and deliver to this court such property together with this warrant

YOU ARE DIRECTED 'I`O EXECUTE THIS SERACH WARRANT:
* A'I` ANY TIME DAY OR NIGHT
* YOU'ARE AUTHORIZED, IN 'I`HE EXECUTION OF THIS WARRANT, TO ENTER THE

PREMISES TO BE SEARCHED Wl'l`HOUT GlVlNG NOTICE OF YOUR AUTI"IORITY
AND PURPOSE.

Case 3:18-mj-00117-ATB Document 1 Filed 03/05/18 Page 32 of 44

This search warrant issued this;? day of M¢A 2018

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(Signature of Judge or Justice)

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EXHIBIT 2

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Cortland County Sheritf's Office

 

 

 

 

 

 

 

 

 

Evidence Work Sheet
j Case No. Subject - Search Warrant executed at # -|. .adiil Plymouth NY 13832,(Chenango County) on the
i 818- date of 03/03/2018 PAGE 1 OF 1 PAGES.

04105

Evidence Evidence Description Location Found Found By Date Co|lected

No. Time By

LR1 Qty. 1 - l-lyperion Arms and Ammo Living Room lnv./Sgt. 03/03/18 lnv./Sgt.
|Vlode| HCA-15 i\/|uitil HA100034 - Semi Marl< G. - 0842 Mark G.
Automatic AR Sty|e Rifle, cal. 5.56 ' Starner hrs. Starner
NATO

LR2 Qty. 2 - Meanarms.com 5.56 caliber AR Living Room |nv./Sgt. 03/03/18 lnv./Sgt.
Rifle Magazine Ammo Loaders, each Nlark G. - 0842 lVlark G.
containing qty. 6 live rounds of 5.56 ca|. Starner hrs. Stamer
Ammunition (Qty`. 12 rounds of live
ammm

B1 Qty. 1 - Partial Box of Federal 5.56 x 45 Basement lnv./Sgt. 03/03/18 |nv./Sgt.
mm, 55 grain Fl\/lJ Bal| W/ Stripper clips iV|ari< G. - 0853 l\/lark G.
in green steel ammo box, Containing Starner hrs. Starner
380 live rounds of ammunition

BR1 Qty. 1 - Samsung Galaxy 36, Verizon Bedroom #1 lnv.ngt. 03/03/18 lnv./Sgt.
4G|te cellular phone, color black Mark G. - 0849 l_V|ark G.

Starner hrs. Starner

BR2 Clty. 1 - Lime Green Composition Note Bedroom #1 lnv.ngt. 03/03l18 lnv./Sgt.

Book Mark G. -0905 Marl< G.
Starner hrs. Starner

SWCard Qty. 5 - Cortland County Sheritt’s
Oche Search Warrant Cards -
completed

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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EXHIBIT 3

EX BlT

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EXHIBIT 4

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Case 3:18

 

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